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         IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                      NORTHERN DIVISION


    XAT.COM LIMITED,                                                    ORDER

                  Plaintiff,

    v.                                                      Case No. 1:16-cv-00092-PMW

    HOSTING SERVICES, INC. A/K/A/
    100TB.COM,

                  Defendant.                          Chief Magistrate Judge Paul M. Warner


          Having reviewed the parties’ stipulated motion to stay discovery, and for good cause

shown, the court HEREBY ORDERS:

          1.     The parties’ stipulated motion to stay discovery 1 is GRANTED.

          2.     Discovery is hereby stayed for thirty (30) days from the date of this order or until

                 the motion for determination of subject-matter jurisdiction 2 is decided by the

                 court, whichever period of time is shorter.

          3.     Based upon those rulings, Defendant’s motion to stay discovery3 is MOOT.

          DATED this 7th day of March, 2019.

                                               BY THE COURT:



                                               PAUL M. WARNER
                                               Chief United States Magistrate Judge

1
  See docket no. 135.
2
  See docket no. 89.
3
  See docket no. 134.
